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Counsel to Pierce Robertson


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re                                                          :   Chapter 11
                                                               :
VOYAGER DIGITAL HOLDINGS, INC., et al., :                          Case No. 22-10943 (MEW)
                                                               :
                                                               :   (Jointly Administered)
                  Debtors.                                     :
---------------------------------------------------------------x

                                      CERTIFICATE OF SERVICE

  STATE OF CALIFORNIA                         )
                                              )
  CITY OF SAN FRANCISCO                       )

         I, Matthew Renck, am employed in the city and county of San Francisco, State of

California. I am over the age of 18 and not a party to the within action; my business address is

One Sansome Street, 34th Floor, Suite 3430 San Francisco, CA 94104.

         On October 11, 2022, I caused to be served the below documents via: (i) electronic

mail, on the parties identified on the Master Email Service List attached hereto as Exhibit A;




DOCS_SF:108067.1 75003/001
and (ii) First Class Mail on the parties identified on the Master Service List attached hereto as

Exhibit B:
       Objection of Pierce Robertson to Debtors’ Motion for Entry of an Order (I)
           Authorizing Entry Into the Asset Purchase Agreement and (II) Granting Related
           Relief [Docket No. 507]


         I declare under penalty of perjury, under the laws of the State of California and the

United States of America that the foregoing is true and correct.

         Executed on October 11, 2022, at San Francisco, California.

                                                       /s/ Matthew J. Renck
                                                       Matthew J. Renck




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                                            EXHIBIT A

                                         (Service By Email)

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                                                   EXHIBIT B

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